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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-07-00349-CR

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IN THE COURT OF APPEALS

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TWELFTH COURT OF APPEALS
DISTRICT

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TYLER, TEXAS

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JUAN
FUENTES,&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE 114TH

APPELLANT

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V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL
DISTRICT COURT OF

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THE
STATE OF TEXAS,

APPELLEE&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SMITH
COUNTY, TEXAS

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MEMORANDUM OPINION

PER
CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This appeal is being dismissed for want of
jurisdiction.&nbsp; Appellant was convicted of
engaging in organized criminal activity.&nbsp;
Sentence was imposed on August 10, 2007.&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Texas Rule of Appellate Procedure 26.2 provides that an
appeal is perfected when notice of appeal is filed within thirty days after the
day sentence is imposed or suspended in open court unless a motion for new
trial is timely filed.&nbsp; Where a timely
motion for new trial has been filed, notice of appeal shall be filed within
ninety days after the sentence is imposed or suspended in open court.&nbsp; Id.&nbsp;
Appellant did not file a motion for new trial.&nbsp; Therefore, his notice of appeal was due to
have been filed on or before September 10, 2007.&nbsp; However, Appellant did not file his notice of
appeal until September 11, 2007 and did not file a motion for extension of time
to file his notice of appeal as permitted by Texas Rule of Appellate Procedure
26.3.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On September 14, 2007, this court notified Appellant,
pursuant to Rules 26.2 and 37.2, that the clerk’s record did not show the
jurisdiction of this court, and it gave him until September 25, 2007 to correct
the defect.&nbsp; The deadline has now passed,
and Appellant did not furnish information showing the jurisdiction of this
court or otherwise respond to this court’s notice.&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because this court has no authority to allow the late
filing of a notice of appeal except as provided by Rule 26.3, the appeal must
be dismissed.&nbsp; See Slaton v. State,
981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp;
Accordingly, the appeal is dismissed for want of jurisdiction.

Opinion
delivered October 11, 2007.

Panel
consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

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(DO NOT PUBLISH)





